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                     UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
United States of America,

        Plaintiff,
v.                                                 ORDER
                                                   Crim. No. 11‐228
Gerald Joseph Durand (02),

      Defendant.
___________________________________________________________________

      David J. MacLaughlin and Tracy L. Perzel, Assistant United States
Attorney, Counsel for Plaintiff.

      Brian N. Toder, Chestnut Cambronne P.A., Counsel for Defendant Gerald
Durand.
___________________________________________________________________

        This matter is before the Court on the motion of Defendant Durand for a

new trial [Doc. No. 364]. Defendant is hereby ordered to submit a memorandum

in support of said motion on or before January 1, 2013 at 6:00 p.m. The

government shall file its responsive memorandum on or before January 2, 2013 at

12:00 p.m.

Date:

                                __//s//___________________________________
                                Michael J. Davis
                                Chief Judge
                                United States District Court


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